   Case 2:16-cv-05051-GW-AFM Document 529 Filed 05/11/18 Page 1 of 3 Page ID #:15005

                                       Office of the Clerk
                      United States Court of Appeals for the Ninth Circuit
                                     Post Office Box 193939
                              San Francisco, California 94119-3939
                                          415-355-8000
Molly C. Dwyer
Clerk of Court                            May 11, 2018


       No.:                18-55615
       D.C. No.:           2:16-cv-05051-GW-AFM
       Short Title:        ALS Scan, Inc. v. Steadfast Networks, LLC


       Dear Appellant/Counsel

       A copy of your notice of appeal/petition has been received in the Clerk's office of
       the United States Court of Appeals for the Ninth Circuit. The U.S. Court of
       Appeals docket number shown above has been assigned to this case. You must
       indicate this Court of Appeals docket number whenever you communicate with
       this court regarding this case.

       Please furnish this docket number immediately to the court reporter if you place an
       order, or have placed an order, for portions of the trial transcripts. The court
       reporter will need this docket number when communicating with this court.

       The due dates for filing the parties' briefs and otherwise perfecting the appeal
       have been set by the enclosed "Time Schedule Order," pursuant to applicable
       FRAP rules. These dates can be extended only by court order. Failure of the
       appellant to comply with the time schedule order will result in automatic
       dismissal of the appeal. 9th Cir. R. 42-1.
Case 2:16-cv-05051-GW-AFM Document 529 Filed 05/11/18 Page 2 of 3 Page ID #:15006




                    UNITED STATES COURT OF APPEALS
                                                               FILED
                            FOR THE NINTH CIRCUIT
                                                               MAY 11 2018
                                                              MOLLY C. DWYER, CLERK
                                                               U.S. COURT OF APPEALS




    ALS SCAN, INC., a Maryland              No. 18-55615
    corporation,
                                            D.C. No. 2:16-cv-05051-GW-AFM
                Plaintiff - Appellant,
                                            U.S. District Court for Central
      v.                                    California, Los Angeles

    STEADFAST NETWORKS, LLC, a              TIME SCHEDULE ORDER
    Delaware limited liability company,

                Defendant - Appellee.
Case 2:16-cv-05051-GW-AFM Document 529 Filed 05/11/18 Page 3 of 3 Page ID #:15007



   The parties shall meet the following time schedule.

   If there were reported hearings, the parties shall designate and, if necessary, cross-
   designate the transcripts pursuant to 9th Cir. R. 10-3.1. If there were no reported
   hearings, the transcript deadlines do not apply.

   Fri., May 18, 2018            Mediation Questionnaire due. If your registration for
                                 Appellate ECF is confirmed after this date, the
                                 Mediation Questionnaire is due within one day of
                                 receiving the email from PACER confirming your
                                 registration.
   Mon., June 11, 2018           Transcript shall be ordered.
   Mon., July 9, 2018            Transcript shall be filed by court reporter.
   Mon., August 20, 2018         Appellant's opening brief and excerpts of record
                                 shall be served and filed pursuant to FRAP 32 and
                                 9th Cir. R. 32-1.
   Mon., September 17, 2018 Appellee's answering brief and excerpts of record
                            shall be served and filed pursuant to FRAP 32 and
                            9th Cir. R. 32-1.

   The optional appellant's reply brief shall be filed and served within 21 days of
   service of the appellee's brief, pursuant to FRAP 32 and 9th Cir. R. 32-1.

   Failure of the appellant to comply with the Time Schedule Order will result in
   automatic dismissal of the appeal. See 9th Cir. R. 42-1.

                                                   FOR THE COURT:

                                                   MOLLY C. DWYER
                                                   CLERK OF COURT

                                                   By: John Brendan Sigel
                                                   Deputy Clerk
                                                   Ninth Circuit Rule 27-7
